Case 24-12610-pmm Doc 76 Filed 03/24/25 Entered 03/25/25 09:37:41 Desc Main
Document Pagei1of2

Dear Honorable Judge Patricia M Mayer Doc 24-12610

Notice of Motion and In-Person hearing «MAR 9 A 2025

Your Honor | must apologize for so many written responses But Mr. Sedik Quit
representing me on February 18" day of the Hearing for Relief in the lobby of your building |
have tried to get a lawyer but they say they can’t help me with this case , Here are my
perspective of what | have work with Mr. 03Sedik in July 20 he asked that | pay him in full
for his representation which | did after that he advised me to pay the trustee and Loan
Ranger which | did as he advised me to | also asked him about Members‘st and the sale of
that property the was a hearing about exemption of that property in November he told me
to get another lawyer for that ,

Your Honor | appeared in your court without him and you said we would
continue the case and he would have to appear in person with an explanation. Then in
January he said he would combine the plan and the members‘st hearing and the Motion
for relief all together so we could take care of them all at one hearing, So the hearing he
was continued to February 13" On February 13" @ 8:49 am | received the first amended
plan by email and time stamped , The zoom meeting was 10 am and the trustee told us
that you are Not allowed to submit Plans the morning of the hearing The Judge does not
have time to go over it so he said it would be continued .

| get a call from him the next day while at work he wanted to submit a
different plan and | said you told me the other plan submitted would pay the plan 100%
and a great plan | said that’s the plan | wanted and wanted it to be paid 100% through the
trustee If | can do that plan and he yelled at me over the phone it scared me and | was really
hesitant about this new plan and he continued to yell about this plan then he calmed and
said you can also talk to the Judge and | said lets do that then | really don’t feel comfortable
with this other plan lets leave the first amended plan in and we can talk with the Judge .

| was told in August what to pay the trustee and lone Ranger and have 9
locust st sold by June we also agreed that and a payment increase would be coming and |
need to get the rental building finished and rented Mr. Sedik says | insisted in taking
actions he disagreed with all | asked was to be able to pay through the trustee because

vane Rangebstayenim coDucoreFe pied yOb32 Ayes | meaiterda RaysgBEs JUS OU BLO ain
verified | did by their own ledger PRCuAAAskeRage Saalil2to verify the numbers that the

Loan Ranger claimed | owed them my 180k loan went to 340k just make sure they are
correct that’s all! said Mr. Sadik also stated that the charged $800.00 every time he talk to
them | ask him can you get the charges listed for that and that’s what | was going though
and what | was focused on getting ready for this plan | thought everything was going in the

right direction just give me the chance | have the Means to make this work This is my
Livelinood

Thank you Jerry johnson
03/19/2025

